      Case 4:17-cv-01443 Document 1 Filed on 05/09/17 in TXSD Page 1 of 8



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 8
                             UNITED STATES DISTRICT COURT
 9
                             SOUTHERN DISTRICT OF TEXAS
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     RONALD MENDLESKI,           )          Case No: 4:17-CV-1443
12                               )
                                 )
13             Plaintiff,        )          COMPLAINT FOR:
                                 )
14       vs.                     )          (1) VIOLATIONS OF THE FAIR
                                 )          DEBT COLLECTION PRACTICES
15                               )          ACT
     LOBEL FINANCIAL             )
16   CORPORATION, SUPERIOR AUTO ))          (2) VIOLATIONS OF THE
                                            UNIFORM COMMERCIAL CODE
17   SALES, INC., and BURNS      )
     NATIONAL, LLC,              )          (3) BREACH OF CONTRACT
18                               )
                                 )          (4) VIOLATIONS OF THE TEXAS
19             Defendants.       )          MOTOR VEHICLE
                                 )          INSTALLMENT SALES ACT
20                               )
                                 )
21                               )
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22                               )
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      Case 4:17-cv-01443 Document 1 Filed on 05/09/17 in TXSD Page 2 of 8



 1         Plaintiff Ronald Mendleski hereby complains against defendants Superior
 2   Auto Sales, Inc. (“Superior”), Burns National, LLC (“Burns”), and Lobel Financial
 3   Corporation (“Lobel”), and alleges on information and belief as follows:
 4                                      OPERATIVE FACTS
 5         1.     Plaintiff purchased a vehicle from Champion Auto Sales, an auto
 6   dealer located in Corpus Christi, Texas, primarily for personal, family or household
 7   use, and signed a retail installment sales contract which gave the dealership a
 8   security interest in the vehicle. The dealership assigned the retail installment sale
 9   contract and security interest to defendant Lobel. Plaintiff subsequently fell behind
10   on the contract payments.
11         2.     Defendant Lobel hired defendant Burns as its agent to repossess
12   plaintiff’s vehicle. Defendant Burns then hired defendant Superior as its agent, to
13   physically take the car. Superior repossessed plaintiff’s vehicle by entering
14   plaintiff’s secured and gated apartment complex, without permission. Accordingly,
15   defendants breached the peace during the repossession, in violation of Texas Bus.
16   & Commerce Code § 9.609(b)(2).
17         3.     On or about December 3, 2016, Defendant Lobel mailed plaintiff a
18   written notice of sale (“NOI”), dated December 2, 2016, which stated that
19   plaintiff’s vehicle would be sold sometime after December 18, 2016, and that
20   plaintiff could reinstate his contract within 15 days of the date of the notice.
21   However, plaintiff is informed and believes that defendant Lobel sold plaintiff’s
22   vehicle on or before December 18, 2016, the date guaranteed in the NOI.
23   Defendant Lobel therefore did not give reasonable notice of the sale, failed to
24   conduct a commercially reasonable sale, and deprived plaintiff of his right to
25   reinstate and redeem the collateral, all in violation of Texas Bus. & Commerce
26   Code §§ 9.610(b), 9.611(b), 9.612(a), and 9.623.
27         4.     Defendant Lobel sold plaintiff’s vehicle, and assessed plaintiff a
28   deficiency balance of $4,639.21. Lobel then sent plaintiff an explanation of the
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      Case 4:17-cv-01443 Document 1 Filed on 05/09/17 in TXSD Page 3 of 8



 1   deficiency, which violated Texas Bus. & Comm. Code § 9.616(b)(1) in the
 2   following ways:
 3         (a) in violation of Texas Bus. & Comm. Code § 9.616(c)(1), the notice
 4   disclosed a rebate of unearned interest out of the statutorily mandated order, i.e.
 5   after the amount of sales proceeds and amount owing after application of the sales
 6   proceeds, instead of before;
 7         (b) in violation of Texas Bus. & Comm. Code § 9.616(c)(5), the notice
 8   disclosed a GAP finance charge rebate out of the statutorily mandated order, i.e.
 9   before instead of after the types and amounts of expenses associated with selling
10   the vehicle.
11         (c) in violation of Texas Bus. & Comm. Code § 9.616(c)(5), the notice failed
12   to disclose that plaintiff was entitled to a credit for the unearned premiums on his
13   canceled GAP insurance contract.
14         5.       As a result of the above UCC violations, plaintiff does not owe
15   defendant Lobel a deficiency balance, by operation of Texas Bus. & Comm. Code §
16   9.626(b). Plaintiff is also entitled to damages and statutory damages pursuant to
17   Texas Bus. & Comm. Code § 9.625(b) and (c).
18         6.       Plaintiff had personal possessions in the vehicle. In violation of Texas
19   Occupations Code § 2303.151, defendant Superior failed to mail plaintiff a notice
20   by certified mail, stating the information required by Tex. Occup. Code § 2303.153,
21   including the amounts of storage and other charges plaintiff would have to pay
22   when the vehicle was claimed, and the location of the storage facility.
23         7.       In violation of Texas Finance Code § 348.407 (and in breach of
24   contract), defendant Lobel failed to issue plaintiff a written notice within 15 days of
25   discovering that there was personal property in the vehicle, informing plaintiff of
26   the address and business hours of the entity who was storing plaintiff’s possessions,
27   so he could reclaim them. Lobel falsely disclosed to plaintiff in its NOI, that
28   defendant Burns was storing the vehicle in Michigan, when in fact defendant
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       Case 4:17-cv-01443 Document 1 Filed on 05/09/17 in TXSD Page 4 of 8



 1   Superior or some other entity had custody of the vehicle, and plaintiff’s
 2   possessions, in Texas.
 3                                 JURISDICTION AND VENUE
 4          8.     The court has original jurisdiction over this matter pursuant to 15
 5   U.S.C. § 1692k(d). The court has supplemental jurisdiction over the state law
 6   claims pursuant to 28 U.S.C. § 1367.
 7          9.     Venue is proper in the Southern District of Texas because a substantial
 8   part of the events or omissions giving rise to the claim occurred in this district, and
 9   defendants are subject to the court’s personal jurisdiction in this district.
10                                          PARTIES
11          10.    Plaintiff is a natural person over the age of 18 years and is a resident of
12   Corpus Christi, Texas.
13          11.    Defendant Superior Auto Sales, Inc. is a Texas corporation with its
14   headquarters in Beeville, Texas.
15          12.    Defendant Burns National, LLC is a Michigan limited liability
16   company with its headquarters in Hudsonville, Michigan.
17          13.    Defendant Lobel Financial Corporation is a California corporation
18   with its headquarters in Anaheim, California.
19          14.    At all times mentioned herein, each defendant was the agent or
20   employee of each of the other defendants and was acting within the course and
21   scope of such agency or employment. The defendants are jointly and severally
22   liable to plaintiff.
23                           FIRST CAUSE OF ACTION
         (Against Defendants Superior and Burns for Violations of the Fair Debt
24                 Collection Practices Act, 15 U.S.C. § 1692 et seq.).
25          15.    Plaintiff realleges and incorporates herein by reference the allegations
26   of all paragraphs above.
27          16.    Plaintiff is a “consumer” who allegedly owed a “debt”, and defendants
28   are “debt collectors”, as those terms are defined at 15 U.S.C. § 1692a. Defendants
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      Case 4:17-cv-01443 Document 1 Filed on 05/09/17 in TXSD Page 5 of 8



 1   use instrumentalities of interstate commerce or the mails in a business the principal
 2   purpose of which is the enforcement of security interests.
 3         17.      Defendants violated 15 U.S.C. § 1692f(6) by taking nonjudicial action
 4   to effect dispossession or disablement of property when (1) there was no present
 5   right to possession of the property claimed as collateral through an enforceable
 6   security interest; and/or (2) the property was exempt by law from such
 7   dispossession or disablement.
 8         18.      Defendants had no present right to repossess plaintiff’s vehicle in
 9   breach of the peace, but did so in violation of Texas Bus. & Commerce Code §
10   9.609(b)(2).
11         19.      Plaintiff is entitled to actual damages sustained as a result of
12   defendants’ conduct, in an amount according to proof, pursuant to 15 U.S.C. §
13   1692k.
14         20.      Plaintiff is entitled to statutory damages of $1,000 against each
15   defendant, pursuant to 15 U.S.C. § 1692k. Defendants have frequently and
16   persistently failed to comply with the FDCPA, and have violated the FDCPA
17   intentionally. The nature of defendants’ violations justifies the maximum statutory
18   damages award available.
19         21.      Plaintiff is entitled to the costs of the action, together with a reasonable
20   attorneys fee, pursuant to 15 U.S.C. § 1692k.
21         WHEREFORE, plaintiff prays for relief as set forth below.
22                         SECOND CAUSE OF ACTION
       (Against Defendant Lobel for Violations of the Uniform Commercial Code)
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           22.      Plaintiff realleges and incorporates herein by reference the allegations

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     of all paragraphs above.

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           23.      Defendant violated Texas Bus. & Commerce Code §§ 9609(b),

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     9.610(b), 9.611(b), 9.612(a), 9616, and 9.623, as set forth above.

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           24.      Plaintiff is entitled to recover the actual damages caused by
     defendant’s failure to comply with the4 Uniform Commercial Code, pursuant to
      Case 4:17-cv-01443 Document 1 Filed on 05/09/17 in TXSD Page 6 of 8



 1   Texas Bus. & Commerce Code §§ 9.625(b) and (c)(1).
 2         25.    Plaintiff is entitled to recover the credit service charge plus ten percent
 3   of the principal amount of the obligation, pursuant to Texas Bus. & Commerce
 4   Code § 9.625(c)(2).
 5         26.    Plaintiff is entitled to an injunction pursuant to Texas Bus. &
 6   Commerce Code §§ 9.625(a), to restrain defendant from collecting any deficiency
 7   balance from plaintiff, including making any credit reporting that plaintiff owes a
 8   deficiency or that his account has been charged off.
 9         27.    By repossessing plaintiff’s vehicle in breach of the peace, defendants
10   also breached the terms of the retail installment sales contract. Plaintiff is entitled to
11   recover attorneys fees and costs pursuant to the terms of the contract, and
12   applicable law, including Texas Civil Practice And Remedies Code § 38.001(8).
13         WHEREFORE, plaintiff prays for relief as set forth below.
14                             THIRD CAUSE OF ACTION
                     (Against Defendant Lobel for Breach of Contract)
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           28.    Plaintiff realleges and incorporates herein by reference the allegations

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     of all paragraphs above.

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           29.    In its written contract with plaintiff, Lobel’s assignor promised that if

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     plaintiff defaulted, “We may immediately take possession of the property by legal

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     process or self-help, but in doing so we may not breach the peace or unlawfully

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     enter onto your premises.” Defendant Lobel breached this promise when it

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     breached the peace during the repossession, and unlawfully entered onto plaintiff’s

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     premises.

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           30.    In its written contract with plaintiff, Lobel’s assignor promised that if

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     it retook possession of the vehicle, “You agree that if any notice is required to be

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     given to you of an intended sale or transfer of the Property, notice is reasonable if

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     mailed to your last known address, as reflected in our records, at least ten days

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     before the date of the intended sale or transfer (or such other period of time as is
     required by law.” Defendant Lobel breached
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                                                this promise when it failed to give at
      Case 4:17-cv-01443 Document 1 Filed on 05/09/17 in TXSD Page 7 of 8



 1   least ten days notice of the sale, and failed to permit the period of time required by
 2   law to elapse, before selling the vehicle.
 3         31.    In its written contract with plaintiff, Lobel’s assignor promised that
 4   “You agree that we may take possession of personal property left in or on the
 5   Property securing the Contract and taken into possession as provided above. We
 6   will send you written notice at your last known address within 15 days of our
 7   discovery of such personal property. If you fail to claim that property as provided
 8   in the notice, we may dispose of that property and disburse the proceeds, according
 9   to applicable law.” Defendant breached this promise when it failed to send plaintiff
10   written notice of the location of his personal items, within 15 days of discovering
11   that personal property had been recovered.
12         32.    As a proximate result of defendant’s breach of contract, plaintiff has
13   suffered damages, and is entitled to recover them from defendant.
14         33.    Plaintiff is entitled to recover attorneys fees and costs pursuant to
15   Texas Civil Practice And Remedies Code § 38.001(8).
16                          FOURTH CAUSE OF ACTION
          (Against Defendant Lobel For Violations Of The Texas Motor Vehicle
17              Installment Sales Act, Texas Fin. Code § 348.001 et seq.)
18         34.    Plaintiff realleges and incorporates herein by reference the allegations
19   of all paragraphs above.
20         35.    Defendant violated Texas Finance Code § 348.407, by failing to issue
21   plaintiff a notice within 15 days of discovering that there was personal property in
22   the vehicle, which informed plaintiff of the information required by that section.
23         36.    Plaintiff is entitled to recover three times his actual economic loss
24   caused by defendant’s violations, pursuant to Texas Finance Code § 349.003(a)(1).
25         37.    Plaintiff is entitled to reasonable attorneys' fees, pursuant to Texas
26   Finance Code § 349.003(b).
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      Case 4:17-cv-01443 Document 1 Filed on 05/09/17 in TXSD Page 8 of 8



 1                                  PRAYER FOR RELIEF
 2         WHEREFORE, plaintiff prays for the following relief:
 3         1. For actual damages, including economic harm and mental anguish;
 4         2. For statutory damages;
 5         3. For treble damages;
 6         4. For injunctive relief;
 7         5. For pre-judgment interest to the extent permitted by law;
 8         6. For an award of attorneys’ fees, costs and expenses incurred in the
 9   investigation, filing and prosecution of this action; and
10         7. For such other and further relief as the Court may deem just and proper.
11                             DEMAND FOR JURY TRIAL
12         Plaintiff hereby demands a trial by jury under the United States and Texas
13   constitutions.
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     Dated: May 9, 2017                        Respectfully Submitted,
15
                                               TRUEBLOOD LAW FIRM
16
17
18                                             By:   ________/s/____________________
                                                     Alexander B. Trueblood
19
                                               Attorney-In-Charge for Plaintiff
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